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Exhibit 5
56 Srar.]J Tits CONG., 2p SESS.—CHS. 520, 521—JULY 23, 1942

[CHAPTER 520]
AN ACT

To promote the national defense and to promptly facilitate and protect the
transport of materials and supplies needful to the Military Establishment by
authorizing the construction and operation of a pipe line and a navigable barge _
channel across Florida, and by deepening and enlarging the Intracoastal Water-
way from its present eastcrn terminus to the vicinity of the Mexican border.

Be tt enacted by the Senate and House of Representatives of the
United States of America in Congress assembled, That, in order to
promote the national defense and to promptly facilitate and protect
the transport of materials and supplies needful to the Military Estab-
- lishment, there is hereby authorized to be constructed under the direc-
tion of the Secretary of War and the supervision of the Chief of
Engineers a high-level lock barge canal from the Saint Johns River
across Florida to the Gulf of Mexico in accordance with the plans set
forth in the letter of the Chief of Engineers dated June 15, 1949;
and that there is also authorized the enlargement of the present Intra-
coastal Waterway from the vicinity of Apalachee Bay to Corpus
Christi, Texas, and its extension to the vicinity of the Mexican border
so as toe provide throughout the entire length of the canal a channel
twelve feet deep and one hundred and twenty-five feet wide: Pro-
vided, That between Mobile, Alabama, and New Orleans, Louisiana,
the project shall be modified in accordance with the recommendations
of the Chief of Engineers in his report dated April 27, 1942, except
that the annual payments to be made by the Government to the Board
of Commissioners of the Port of New Orleans are not limited by this
Act to the amount recommended by the Chief of Engineers but are
left open to negotiations between the Board of Commissioners of the
Port of New Orleans and the Chief of Engineers: Provided further,
That the Chief of Engineers is authorized to expedite the utilization
of the facilities herein above authorized by the employment of tem-
porary structures and available materials, and within reasonable limits
to vary, in his discretion, the above-prescribed dimensions, wherever
_ advisable: And provided further, That subject to the provisions of |

Public Law 197, Seventy-seventh Congress, there is authorized to be
constructed one or more pipe lines, together with all necessary terminal
facilities, for the transport of petroleum and its products, from the
vicinity of Port Saint’ Joe and other points on the Gulf Coast of
Florida to the Saint Johns River, and a crude-oil pipe line from the
Tinsley Oi] Field in the vicinity of Yazoo, Mississippi, to Charleston,
South Carolina, and/or Savannah, Georgia. -

' Sec. 2. There is hereby authorized to be appropriated the sum of
$93,000,000 to carry out the provisions of this Act.

Approved, July 23, 1942.

[CHAPTER 521]

JOINT RESOLUTION

To amend section 1700 (a) (1) of the Internal Revenue Code to extend to the
members of the armed forces of the United Nations the exemption from the
tax on admissions in cases where admission is free, and to exempt from tax
the amount paid for admissions to theatres and other activities operated by the
War Department or the Navy Department within posts, camps, reservations,
and other areas maintained by the Military or Naval Establishment.

Resolved by the Senate and House of Representatives of the United
States of America in Congress assembled, That section 1700 (a) (1)
of the Internal Revenue Code, as amended, is amended by inserting
after the words “members of the military or naval forces of the

United States when in uniform” a comma and the words “members

' HeinOnline -- 56 Stat. 703 1940-1942

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July 23, 1942
{H. R. 6999]

[Public Law 675)

National defense.

Barge canal across
Florida, construction
Buthorized.

Intracoastal Water. |
way,

Enlargement and
extension.

Provisos.
Modification of
project.

Authority of Chief
of Engineers,

Patroleum and
erude-oil pipe lines.

55 Stat, 610.

16 U.S. ¢., Supp.
I, prec. § 715 note.

Appropriation au-
thorized.
Post, p. 1005.

July 23, 1942
{H. J. Res. 318]

[Publie Law 676]

Interna! Revenue
Code, amendment.
55 Stat. 710.
U.S. C., Supp.
I, § 1700 (a) (1).
Taxes on admis-
sions, exemptions.
